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                                                                                                                                Revised 7/1/13

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK



In re
                                                                               Case   No.: 17-23424
Rosendo Ferlan                                                                  CHAPTER 13 PLAN


                                                               Debto(s).
SSN:    xxx.xx-8750                     SSN:



Plan Definitions:   lfthis   is   ajoint   case, use   ofthe term "Debtor" shall also mean Debtors. The term "Trustee" shall always refer to
Jeffrey L. Sapir, the Chapter        l3 Standing Trustee for this coun, or his substitute. The term "Bankruptcy Rule" shall refer to the
Federal Rules ofBankruptcy Procedure. The term "Local Rule" shall refer to the Local Rules ofBankruptcy Proc€dure ofthe
United States Bankruptcy Court for the Southem District ofNew York. The term "Petition" refers to Debtor's bankruptcy petition
filed with the court  onSoptemb€r 15,2017 . The term "Real Property Us€d as a Principal Residence" includes cooperative
apanments.

E This    is an Amended or        Modified Plan. The reasons for filing this Amended or Modified Plan are:

In all respects, this Plan shall comply with the provisions ofthe Bankruptcy Code, Bankruptcy Rules and Local Rules.

Section   A                  The future eamings ofDebtor are submitted to the supervision and control ofthe Trustce. Debtor will
Plan Payments and            make the first Plan payment no later than thirty (30) days afier the date this Petition was filed. The Debtor
Payment    Duration          shall make 60 monthly payments to the Trustee as follows:

                                    $-.]!!!Ql      each month,   from 10/15/2017 through 09/15/2022       .



                                    I Lump-sum payment(s) in the following amoun(s): $72,000.00 lumpsum peyment in month 12,
                                    plus 172,000.00 lumpsum payment in month 24, plus S72,000.00 lumpsum paym€nt in month
                                    36, plus 972,000.00 lumpsum paymont in month 48, plu3 $72,000.00 lump3um payment in
                                    month 60

                              E            Alltax refunds in excess of$1500 (less any cash exemptions in the first year, ifapplicable).
                              E            Pursuant to   llU.S.C. $ 1325(bX4), the applicable commitment period is 60 months, or
                              I            Pursuant to I I U.S.C. S 1325(b[4), the applicable commitment period is J6 months.
                              I            Debtor's annual commitment p€riod is 36 months and Debtor moves to extend to 60 months for
                                           the following reason! (check all that dpply.)
                                    I      Debtor is not able to propose a feasible plan in a period ofless than 60 months. Debtois
                                           proposed monthly payment will constitute an affordable budget that the Debtor will be able ro
                                           maintain.
                                    I      Paymsnts greatc. than that proposed by this plan for 60 months would create an economic
                                           hardship for the Debtor.
                                    E      Creditors will not be prejudiced by this application for extension of DebtorJs plan payments from
                                           36 to 60 months.
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Payment      Terms                The Debtor will pay the amounts listed above to the Trustee by bank check, certified check, teller's check,
                                  or money order sent to the following address:

                                          Jeffiey L. Sapir, Esq., Chapter l3 Trustee
                                          399 Knollwood Road. Suite 102
                                          White Plains, New York 10603

                                  OPTIONAL: Debtor       may pay his or her Plan payments to the Trustee by way ofan employer pay order,
                                  pursuant to I I U.S.C. S 1325(c). lfDebtor selects this option, please check here: E

                                  Upon selecting this option, Debtor hereby consents to the immediate entry ofan order directing Debtor's
                                  employer to deduct from Debtor's wages the amount specified in this section and hansmit that amount
                                  directly to the Trustee on Debtor's behalf. D€btor also agrees to noliry the Trustee immediately upon
                                  change or termination ofemployment. A proposed order outlining Debtor's intention shall be submined to
                                  the court for consideration upon the filing ofthis Plan.

                                  O Non-Debtor Contributions. Identiry the source and monthly amount to be contributed to the Plan from
                                  any pe.son o. entity other than the Debtor (a "Non-Debtor Contributor"):
                                                                                                             -.
                                  Prior to confirmation ofthis Plan, each Non-Debtor Contributor must either ( | ) file an affidavit with the
                                  court confirming the amounts that will be contributed to the Plan or (2) consent to entry ofan employer
                                  pay order for the amount to be contributed to the Plan.

Section     B                     Pursuant ro 28 U.S.C. $ 586(e), the Trustee may collect the percentage fee fiom all payments and property
Trustee's   Fee                   rcceived, not to exceed 109'0.

Section C            I By checking this box and completing this section, the Debtor requests loss
Loss Mitigation mitigation pursuant to Local Rule 9019-2, which establishes a coun-ordered loss mitigation program.
(Optional)           pursuant to which parties may deal with issues such as a loan modification, loan refinance, short sale, or
This section applies sunender in full satisfaction, conceming the Debtor's Real Property Used as a Principal Residence. List
onl! to the    Debtor's           the property and/or the Secured Creditor(s) below:
Real Property        Used         20 Canterburv Road, White Plaln8, NY 10607
                                  Bank of America, NA. as serYicer
as a   Principal
Residence.                        The Debtor hereby permits the Secured Credito(s) listed above to contact (check all that apply):
                                      E The Debtor directly.
                                          I    Debtols bankruptcy counsel.
                                          E Other:
                                  (Debtor is not requircd to dismiss this bankruprcy Petition during the loss mitigation discussions. Any
                                  agreement reached during the loss mitigation discussions may be approved pursuant to an amended plan,
                                  and the terms may be set forth in Section H, below.)

Section     D                     Except as otherwise ordered by the court, the Trustee will make disbursemcnts to creditors after the court
Treatment    ofclaims             enters an order confirming this Plan. Unless otherwise provided in Section H (below), disbursements by
                                  the Trustee shall be p/o rata as outlined below.
El See Section H,
Varying Provisions.

Category I                        Attorney's f€es. Counsel for the Debtor    has received a prepetition retainer of
Atlomey's Fees                    $ 2.500.00     to be applied against fees and costs incurred. Fees and costs exceeding
                                                         ,
          ll U.S.C
pursuant to                       the retainer shall be paid from funds held by thc Chapter l3 Truslee as an administrative expense after
$   507(a)(2).                    application 10 and approval by the court pursuant to Bankruptcy Rule 2016.

0   Not Applicable.


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Cat€gory 2                      Category 2 applies only to claims secured by        a mortgage on the   Debtor's Real Property Used as a
Claims Secured by a             Principal Residence.
Mortgage on the
Debtor's Real                   Cateqow 2 Definitions: For the purposes of this Cat€gory 2, any reference to the term "Secured Creditor"
Property Used as a              msans mortgagees, a credilor whose interest is secured by a mortgage on Debtor's real property, a holdgr
Principal Residence             and/or servicer ofa claim secured by a lien, mortgage and/or deed oftrust and,/or any other similarly
                                situated creditoq servicing agent and/or their assigns. The term "Mortgage" shall include references to
tr Not Applicable.              mo.tgages, liens, deeds oftrust and any other similarly situated interest in the Debtor's Real Property
                                Used as a Principal Residence. The term "Contract" shall refer to any contract or similar agreement
El See Section H.                pertaining to the Mortgagc. The term "Prepetition Anearages" shall refer to an arnount owed by the
Varying Provisions.             Debtor to the Secured Creditor prior to the filing ofDebtor's petition. The term "Post-Petition Payment"
                                means any payment that first becomcs due and payable by the Debtor to the Secured Creditor after the
                                filing ofthe petition pursuant to the Mortgagc or Contract.

                                Confirmation ofthis Plan shall impose an aflirmative duty on the Secured Creditor and Debtor to do all          of
                                the following, as ordered:

                                (a) Prepetition Arr€rrages.

                                (i) For pur?oses ofthis Plan, Prepetition Anearages shall include all sums included in the allowed claim
                                and shall have a "0" balance upon entry ofthe Discharge Order in this case. In the event that a Secured
                                Creditor listed in this section fails to timely file a proofofclaim in this case, by this Plan the Debtor shall
                                be deemed to have timely filed a proofofclaim on behalfofeach such Secured Creditor pursuant to I I
                                U.S.C. $ 501(c), in the amount set forth below in Section D, Category 2(a)(iv).

                                (ii) No interest will be paid on Prepetition Arrearages unless otherwise stated.

                                (iii)
                                    Payments made by the Trustee on Debtor's Prepetition Arrearages shall be applied only to those
                                Prepetition Arrearages and not to any other amount owed by Debtor to the Secured Creditor.

                                (iv) lnformation Regarding the Arrearages.

                                 Secured Creditor            &        Value ofcollateral and                    Anearaqe       Arrearage Owed
                                 PropertvDescriDtion                  ValuationMethod                            Amount                    As   Of
                                 Bank Of America
                                 20 Canterbury Road
                                 White Plaln8, NY 10607
                                 Westchoster            County        545'000'00                                10,3,14.23                 Filing

                                (v) IfDebtor pays the amount(s) specified in section (iv) (above), while making all required Post-Petition
                                Payments (see below), Debior's mortgage will be reinstated according to its original terms, extinguishing
                                any right ofthe Secured Creditor to recover any amount alleged to have arisen prior to the filing of
                                Debtor's petition.

                                (b) Post-Petition Payments.

                                Debtor shall pay the following Post-Petition Payments directly to the Secured Creditor listed below
                                during the pendency ofrhe Plan:

                                 Secured Creditor           &
                                 Properw Description                                                Pavmenl Amount             Pavment Timins
                                Bank Of America
                                20 Canterbury Road Whlte Plain6, NY 10607
                                Westche3tor County                                                              7U.13                  llonthly




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                               A Securcd Creditor receiving Post-Petition Payments directly fiom the Debtor pursuant to this section
                               must comply with Section E, below, with regard to any Notice ofContract Change (as defined in Section
                               E) or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall make
                               the Post-Petition Payments in the amount set forth on the most recent Notice ofContract Change or other
                               applicable notice as required by Section E or Bankruptcy Rule 3002.1.

                               (c) Return rnd/or Reallocation of Distribution Prymenl Made to Secured Creditor.

                               lf   a Secured Creditor withdraws its claim, the sum allocated towards the payment   ofthe Secured
                               Creditor's claim shall be distributed by th€ Trustec to Debtor's remaining creditors. lfthe Secured
                               Creditor has received monies from the Trusree (Distribution Payment) and retums those monies to the
                               Trustee, th€ monies retumed shall be distributed ro the Debtor's remaining creditors. IfDebtor has
                               proposed a plan that repays his or her creditors in full, then these monies will be retumed to the Debto..

                               (d) Important Additiotrel Provisions

                               Secured Creditors in Category 2 must comply with the "Additional Terms Applicable to Creditors and
                               Secured Creditors" in Section E, below, regarding the following: (l) any claim for additional amounts
                               during the pendency ofthe Debtor's case due to a change in the terms ofthe Mortgage; (2) any claim for
                               Outstanding Obligations (defined below) that may arise during the pendency ofthe Debtor's case; or (3)
                               any claim for compensation ofservices rendered or expenses incurred by the Secured Creditor during the
                               pendency ofthe Debtor's case. Failure to comply with Section E may result in disallowance ofsuch
                               claims.

Cstegory 3                     Pursuant to  I I U.S.C. $ 1322(b), Debtor assumes or rejects the following unexpired lease(s) or executory
Executory Contracts            contract(s). For an executory contract or unexpired lease with an arreamge to cure, the arrearage will be
& Unexpired Leases             cured in the Plan with regular monthly payments to b€ paid directly to the creditor or landlord
                               ("Creditor")
                               by the Debtor. Th€ anearage amount   will be adjusted to the amount set fo(h in the Creditor's proofof
I   Not Applicable             claim, unless an objection to such amount is filed, in which event it shall be adjusted to the amount
                               allowed by the court.
E   See Section H,
Varying Provisions.
                               (8) Assumed.

                                Creditor          &                                         EstimatedAnearage           ArrearaeeThroueh
                                 ProDertv DescriDlion                                                    Amount                        Date
                                 .NONE-

                               (b) Rejected.

                                Creditor &                                                  Estimated Arrearage         Arrearage Through
                                Propertv DescriDlion                                                    Amount                        Date
                                .NONE-

                               (c) Post-Petition Psyments for Assumed f,xecutory Contracts and Unexpired Lerses

                                Debtor shall make the following Post-Petition Payments directly to the Creditor:

                                Creditor &
                                Propertv Description                                           Pavment Amount             Payment Timinq
                                -NONE-




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                                A Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section must
                                comply with Section E, bclow, with regard to any Notice ofcontract Change (as defined in Section E) or
                                other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall make the
                                Post-Petition Paym€nts in the amount set fonh on the most recent Notica ofContract Chang€ o. other
                                applicable notice as required by Section E or Bankruptcy Rule 3002.1.

                                (d) Importsnt Additionrl Provisions.

                                Creditors in Category 3 must comply with the "Additional Terms Applicable to Creditors and Secured
                                Creditors" in Section E, below, regarding any ofthe following: (l) any claim for additional amounts
                                during thc pendency ofthe Debtor's case due to a change in th€ terms ofthe executory contract or
                                unexpired lease; (2) any claim for Outstanding Obligations (defin€d below) that may arise during the
                                pendency ofthe Debtor's case; or (3) any claim for compensation of services rendered or expenses
                                incurred by the Creditor during the pendency ofthe Debtor's case. Failure to comply with Section E may
                                result in disallowance ofsuch claims.

Category 4                      Cstegory 4 applies to claims secured by personal property, a combination ofpersonal and real property,
Claims Secured by               and real property not used as the Debtor's principal residence.
Personal Property, a
Combination of                  Cateeorv 4 Definitions: The term "Secured Claim" shall refer to clairns secured by penonal property, a
Personal and Real               combination ofpersonal and real property, and real property not used as the Debtor's principal residence.
Property, and Real              For purposes ofthis Catcgory 4, any reference to the term "Secured Creditor" shall include, in addition to
Property Not Used as            the definition ofsecured Creditor in Category 2, any creditor whose interest is secured by an inter€st in
Debtor's Principal              any ofthe Debtor's property.
Residence
B Not Applicable

El See Section H,               (s) List ofCat€gory 4 Claims.
Varying Provisions.
                                Pursuant to I I U.S.C. $ 1325(a), the Secured Creditor listed below shall be paid the amount shown as
                                their Secured Claim under this Plan. However, ifthe amount listed in the Secured Creditor's proofof
                                claim is less than the amount ofthe Secured Claim listed below, the lesser ofthe two amounts will be
                                paid. In the event that a Secured Creditor listed below fails to timely file a proofofclaim in this case, by
                                this Plan the Debtor shall be deemed to have timely filed a proofofclaim on behalfofeach such Secured
                                Creditor. in the amount set forth below.

                                                                                         ofCollateral
                                                                                       Value                      Amount To
                                 Creditor         &                                     valuation
                                                                                       and                             on Interest
                                                                                                                  Be Paid
                                 ProDertv DescriDtion                   Debt Amount Urtlrd                           EblE    Rate
                                 lntemal Revenue Servlca                   16,688.55 0.00                          18,550.77 5"/o
                                 NYS Dept Taxation and
                                 Finance
                                 20 Cantorbury Road ltlrhite
                                 Plains, NY 10607
                                 W€tchotter County                         17,587.52 tG,(X)0.00                    21,U3.71         7.50/o

                                 PIKE COUNTY TAX CLAIM
                                 BUREAU
                                 577 RAY]IIONDSKILL RD
                                 Milford, PA 18337 Pike
                                 County                                    19,468.23   345,233.00                  14,740.17         00/o




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                                                                                         ofcollateral
                                                                                        Value                      Amount To
                                     Creditor &                                        Valuation
                                                                                        and                        Be paid on       lnterest
                                     Propertv Description                Debt Amount M.th"d                             Cl..*.        Rale
                                     Town of Greenburgh
                                     Recelvgr of Taxes
                                     20 Cantorbury Road Whito
                                     Plains, NY 10607
                                     WGtchester          County            200'@0.00    54lt'0@'00                 273'980.68         129a


                                 (b) Adequite Protection.

                                 Ifapplicable, adequate prot€ction shall b€ provided as follows:

                                 (c) Post-Petition Pryments.

                                 Debtor shall pay the following Post-Petition Payments directly to the Securcd Creditor listed below
                                 during the pendency ofthe Plan:

                                     Secured Creditor &
                                     Propertv Description                                            Pavment   Amount       Pavment Timing
                                     Bank Of America
                                     577 RAYMONOSKILL RD Milford, PA 18337 Pike
                                     County                                                                     879.93               Monthly

                                 A Secured Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section
                                 must comply with Section E, below, with regard to any Notice ofContmct Change (as defined in Section
                                 E) or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall make
                                 the Post-Petition Payments in the amount set forth on the most recent Notice ofContract Change or other
                                 applicable notice as required by Section E or Bankuptcy Rule 3002.1.

                                 (d) R€turu rnd/or Resllocation of Distribution Payment Msde to S€cured Creditor.

                                 Ifa   Secured Creditor withdraws its claim, the sum allocated towards the payment ofthe Secured
                                 Creditor's claim shall be distributed by the Trustee to Debtor's remaining creditors. Ifthe Secured
                                 Creditor has received monies fiom the Trustee (Distribution Payment) and retums those monies b the
                                 Trustee, the monies retumed shall be distributed to the Debtor's remaining creditors. lfDebtor has
                                 proposed a plan that repays his or her creditors in full, then these monies will be retumed to the Debtor.

                                (€) lmportrnt Additional Provisions.

                                In addition to any requiremcnts set forth in any applicablc Bankruptcy Rules, Secured Creditors in
                                Category 4 must comply with the "Additional Terms Applicable to Creditors and Secured Creditors" in
                                Section E, below, regarding the following: ( l) any claim for additional amounts during the pendency of
                                the Debtor's case due to a change in the terms ofthe Contract; (2) any claim for Outstanding Obligations
                                (defined below) that may arise during the pendency ofthe Debtor's case; or (3) any claim for
                                compensation ofservices rendered or expenses incurred by the Secured Creditor during the pendency of
                                the Debtor's case. Failure to comply with Section E may result in disallowance ofsuch claims.




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Crtegory 5                           All allowed claims enlilled,to pro rata piority treatment under I I U.S.C.   g 507 shall b€ paid in   tull in lhe
Priority, Unsecured                  following order:
Claims
                                     (r) Unsccur€d Domestic Support Obligrtions.
E Not Applicable.
                                     Debtor shall remain cun€nt on all such obligations that come due after filing the Debtor's Petition.
                                     Unpaid
E     See Section H,                 obligations incurred before the Petition date arc to be cured by the Plan payments.
Varying Provisions.
                                         Creditor Status                                                                    Estimated Arearaqes
                                         +{oNE-

                                     (b) Other Unsecured Priority Cl|ims.

                                         Creditor                                Tvpe of Prioriw Debl                              Amount Owed
                                         lntomal Revonue            Servlca      l  es and certaln otho. debts                        12,332.85

Crtegory 6                           Cateeorv 6 Definition: The term "Codebtor" refers to      _.
Codebtor Claims
I     Not Applicable.                The following Codebtor claims arc to be paid pro rqlo \rl,tll lhe allowed amounts of such claims
E     See Section H,                 are paid        in full.
Varying Provisions.
                                         Creditor                                      Codebtor Name                     Estimated D€bt Amount
                                         {ONE.
Crtegory ?                           Allowed unsecured, nonpriority claims shallbe paid pro rata from the balancr of payments made under
Nonpriority,                         the Plan.
Unsecured CIaims.

0   Not Applicable.

tr See Section H,
Varying Provisions.




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Seclion E                       Section E Definitions: The definitions in Section D also apply to this Scction. The term "Agreement"
Additional Terms                includes any executory contract, unexpired lease, Mortgagc (as defined in Section D) or Contract (as
Applicable to                   defined in Section D).
Creditors and
Secured Creditors               I. SECURED CREDITOR WITH SECURITY INTEREST TN DEBTOR'S PRINCIPAL RESIDENCE.
                                A Secured Creditor with a security inte.est in the DebtoCs principal residence shall comply with the
                                provisions ofBankruptcy Rule 3002.1, including the timely filing ofthe notices required by subdivisions
                                (b) and (c) of Bankruptcy Rule 3002.1and the statement required by subdivision (g) ofthat rule. A
                                Secured Creditor's compliance with the provisions ofBankruptcy Rule 3002.1 satisfies any duty to
                                provide notice under this Section E.

                               II. CREDITOR             OR SECURED CREDITOR WITH SECURITY INTEREST               IN PROPERTY OTHER
                                THAN THE DEBTOR'S PRINCIPAL RESTDENCE.

                                (l) Notice ofContract Change.
                               (a) At any time during the p€ndency ofDebtor's case, a Creditor or Secured Creditor must file on the
                               Claims Register and serve upon the Trustee, Debtor, and Debtor's counsel (ifapplicable), at least thirty
                               (30) days before the change is to take place, or a payment at a new amount is due, a notice (the "Notice of
                               Contract Change") outlining any change(s) in the amount owed by Debtor under any Agreement,
                               including any change(s) in the interest rate, escrow payment requirement, insurance premiums, change in
                               payment address or other similar matters impacting the amount owed by Debtor under such Agreement
                               (each a "Contract Change"). Additional amounts owcd by the Debtor due to a Contract Change may be
                               dis8llowed by the Court to the extent the amounts (i) were not reflected in a Notice ofcontract Change
                               filed as required by this subsection, and (ii) exceed the amount set fonh in the proofofclaim filed by the
                               Creditor or Secured Creditor or deemed filed under this Plan.

                               (b) Within thirty (30) days ofreceipt ofthe Notice ofContract Change (defined above), Debtor shall
                               either adjust the Post-Petilion Payment to the amount set forth in the Notice ofContract Change, or file a
                               motion with the coun, objecting to lhe payment amount listed in the Notice ofcontract Change and the
                               stating reasons for the objection.

                               (c)The provisions set fonh in this article are in addition to any requirements set forth in any applicable
                               Bankruptcy Rules.

                               (2) Notice of Outstrnding Obligations.

                               (a) At any time during the pendency ofthe Debtor's case, a Creditor or Secured Creditor shall file on the
                               Claims Register and serve upon the Trustee, Debtor, and Debtor's counsel (ifapplicable) a notice
                               containing an itemization ofany obligalions arising after the filing ofthis case that the Creditor or
                               Secured Creditor believes are recoverable against the Debtor or against the Debtor's property (the
                               "outstanding Obligations"). Outstanding Obligations include, but are not limited to, all fees, expenses, or
                               charges incuned in connection with any Agreement, suah as any amounts that ars due o. past due related
                               to unpaid escrow or escrow anearages; insurance premiums; appraisal costs and fges; taxes; costs
                               associated with the maintenance and/or upkeep ofthe property; and other similar items. Within thirty (30)
                               days after the date such Outstanding Obligations were incurred, a Notice ofOutstanding Obligations shall
                               be filed on the Claims Register, swom to by the Creditor or Secured Creditor pursuant to 28 U.S.C. $
                               1746, referencing the paragraph(s) (or specific section(s) and page numbe(s)) in the Agreement that
                               allows for the reimbursement ofthg services and./or expenses.

                               (b) The Debtor reserves the right to file a motion with the court, objecting to the amounts listed in the
                               Notice ofOutstanding Obligations and stating the reasons for the objection. The bankruptcy cou( shall
                               retain jurisdiction to resolve disputes relating to any Notice ofOutstanding Obligations.

                               (c)The provisions set forth in this article are in addition to any requirements set forth in any applicable
                               Bankruptcy Rules.
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                               III. APPLICATION FOR REIMBURSEMENT OF COSTS AND FEES OF PROFESSIONALS.
                               Pursuant to Bankruptcy Rule 2016 and Local Rulc 2016- 1, and in addition to any required notice or
                               statement to be filed und€r Bankruptcy Rule 3002.1 (ifapplicable) or this Secrion E, a Creditor or Secured
                               Creditor must file an applicarion wirh the court if it wishes to be compensated from the Debtor or the
                               estate for services rendered or expenses incurred by its professionals after Debtor's filing ofthis Petition
                               and before the issuanae ofthe Notice ofDischarge. The application shall include a detailed statement
                               setting forth ( I ) the services rendered, time expended and expenses incurred, and (2) the amounts
                               requested. The application shall include a statement swom to by the Creditor or Secured Creditor pursuant
                               to 28 U.S.C. $ 1746 that references the paragraph numbe(s) (or specific section(s) and page number(s))
                               in the Agreement that allows for the reimbursement ofthe services and/or expenses. A Creditor or
                               Secured Creditor may request approval of multiple fees and expenses in a single application, and any
                               application under this subsection must be filed not later than thirty (30) days after the issuance ofthe
                               Notice ofDischarge in this case. Failure to comply with the provisions in this subsection may result in
                               disallowrnce by the Court ofsuch fees and expenses. The Debtor reserves the right to object to any
                               application filed undc. this subsection. This subsection will not apply to the extent that the coun has
                               previously approved a Creditor or Secured Creditor's fees or expenses pursuant to an order or conditional
                               order.

Section F                       Excepl lhose expunged by order after appropriale notice pursuant to a motion or adversary proceeding, a
I-ien Retention                 Secured Creditor shall retain its liens as provided in I I U.S.C. $ 1325(a).

Scction G                      Debtor surrenders the following property and upon confirmation ofthis Plan or as otherwise ordered by
Surrendered Property           the court, bankmptcy stays are lifted as to the collateral to be surrendered.

I   Not Applicable.
                                Claimant                                                      Propertv To Be Surrendered
                                .NONE-

Section H                      The Debtor submits the following provisions that vary fiom the Local Plan Form, Sections (A) through
Varying Provisions             (c):
                                      -NONE-


Section I                      (l) Tar R€turns. While    the case is pending, the Debtor shall timely file tax returns and pay taxes or
Tax Retums                     obtain appropriate extensions and send a copy ofeirher rhe tax retum or the extension to the Trustee
Operating Reports              pursuant to I I U.S.C. $ 521(0 within thirty (30) days of filing with the taxing authority.
and Tax Refunds
                               (2) Openting Reports. lf Debtor is self-employed or operates a business either individually or in a
                               corporate capacity, Debtor shall provide the Trustee with monthly operating reports throughout the
                               entirety ofthe case.

                               (3) Tax Refunds, The Dcbtor may yoluntarily elect to contribute tax refunds as lump-sum payments in
                               Section A ofthis Plan. Unless the Debtor has propos€d a plan that repays his or her creditors in full, the
                               couft may order th€ Debtor to contribute a portion ofthe tax refunds to the Plan. The amount to be
                               contributed shall be determined by the coun on a case-by-case basis.

Section J                       Debtor will cure any funding shortfall before the Plan is deemed completed.
Funding Shortfall




                                                                          9-
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Section K                     (l)    Insurance- Deblor shall maintain insurance as required by law, aontract, sccu.ity agreement or Order
Debtocs Duties                ofthis court.
                              (2'y   Payment Records lo Trustee. Debtot shall keep and maintain records of payments made to Trustee.

                              (3) Pdyment Recor^ to Secured Creditor6./. Debtor shall keep and maintain records ofpost-petition
                              payments made to Secured Creditor(s).

                              (4) Donation Receipts. Where applicable, Deblor shall keep a record     ofall charitable donations   made
                              durirg the pendency ofthis case and maintain receipts received.

                              (5\ Domestic Support Obligation(s). Debtor shall maintain a record of all domestic suppon obligation
                              payments paid directly to the recipient pursuant to a separation agreement, divorce decree, applicable
                              child suppon collection unit order or other court's order. The Debto. must also complet€ and sign the
                              "Certification Regarding Domestic Suppon Obligations" required by General Order M-338. The
                              Certification should be retumed to the Trustee when submitting the last payment under this Plan.

                              (6) Change in Address. Debtor must notit the coun and the Trustee if the address or contact information
                              changes during the pendency ofthe case. Notification musl be made in writing within fifteen ( l5) days of
                              when the change takes place.

                              (7) Disposal of P/opert1,. Debtor shall not sell, encumber, transfer or otherwise dispose ofany Real
                              Property or personal property with a value of more than $ I,000 without first obtaining court approval.

                              (E) This plan or rmended plan has been serv€d on all creditors more than 28 days, plus 3 rdditionel
                              dsys if servicc is by mail, before confirm8tion herring. A certificate ofservice as required by
                              Bankruptcy Rul€ 2002(b) and Local Bsnkruptcy Rules J015-l(c) and 907t-l has been filed.

Debtor's Sigllature           Dated:
                                                  September 15.2017
                                                                         <a--
                              /c/ Rosendo Ferran      ,z           I          ----L-
                                                                       --9t
                                                                                       .)




                              Rosendo           Ferran                            -/
                                                          Debtor                                                 Debtor

                              20 Cantedury Road

                                                                                                                Address


Attorney's                                                                                    September 15, 2017
Signatur€                                                                                                         Date



Attorney                      I, the undersigned attomey for the Debtor, hereby certiry that the foregoing chapter 13 Plan conforms to
Certificatior                 the pre-approved chapter I 3 plan.pq:mulgated pursuant to [Local Bankruptcy      Rule      I of the United
                              States Bankruptcy   t"LW XlryistriTof New York
                                                         C


                               ,st Natasha l{eruelo /hg/-
                                                                 \J       soptember 15' 2017
                               Nata3ha         Meruelo /  (                                Date
                                                   Aftomev for Deblor




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